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      Counsel for Individual and Representative
11    Plaintiffs and the Proposed Class
12

13                                  UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
                                         OAKLAND DIVISION
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                                                          Lead Case Nos.   4:22-cv-06823-JST
16   J. DOE 1 et al.,
17            Individual and Representative Plaintiffs,
18           v.                                           DECLARATION OF JOSEPH R. SAVERI
     GITHUB, INC., et al.,                                IN SUPPORT OF JOINT LETTER BRIEF
19                                                        REGARDING OPENAI DEFENDANTS’
                                          Defendants.     RESPONSES TO PLAINTIFFS’
20                                                        INTERROGATORY Nos. 2, 5, 8, and 9
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        Lead Case No. 4:22-cv-06823-JST
            DECLARATION OF JOSEPH R. SAVERI IN SUPPORT OF JOINT LETTER BRIEF REGARDING OPENAI
                              DEFENDANTS’ RESPONSES TO PLAINTIFFS’ INTERROGATORIES
             Case 4:22-cv-06823-JST Document 173-1 Filed 11/15/23 Page 2 of 3




 1   I, Joseph R. Saveri, declare as follows:

 2          1.      I am an attorney duly licensed to practice in the State of California. I am a partner and

 3   founder of the Joseph Saveri Law Firm, LLP, counsel of record for Plaintiffs Does 1–4 in this action. I

 4   have personal knowledge of the matters stated herein and, if called upon, I could competently testify

 5   thereto. I make this declaration pursuant to 28 U.S.C. Section 1746 in support of Plaintiffs’ Motion to

 6   Maintain Confidentiality Designations for Plaintiffs’ True Names Pursuant to Section 6.3 of the Stipulated

 7   Protective Order (ECF No. 63).

 8          2.      Attached hereto as Exhibit 1 is a true and correct copy of Plaintiff’s First Set of
 9   Interrogatories to Defendants OpenAI, Inc.; OpenAI, L.P.; OpenAI GP, L.L.C.; OpenAI OpCo, L.L.C.;

10   OpenAI Startup Fund GP I, L.L.C.; OpenAI Startup Fund I, L.P.; and OpenAI Startup Fund Management,

11   LLC, dated and served on July 19, 2023.

12          3.      Attached hereto as Exhibit 2 is a true and correct copy of Defendants OpenAI, Inc.;

13   OpenAI, L.P.; OpenAI GP, L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI Startup Fund I, L.P.;

14   OpenAI Startup Fund Management, LLC; and OpenAI OpCo, L.L.C.’s Responses to Plaintiff Doe 1’s

15   First Set of Interrogatories, dated and served on August 25, 2023.

16          4.      Attached hereto as Exhibit 3 is a true and correct copy of a letter from me, Joseph R.

17   Saveri, to Joseph C. Gratz, counsel for Defendants OpenAI, Inc.; OpenAI, L.P.; OpenAI GP, L.L.C.;

18   OpenAI OpCo, L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI Startup Fund I, L.P.; and OpenAI

19   Startup Fund Management, LLC, dated September 20, 2023.

20          5.      Attached hereto as Exhibit 4 is a true and correct copy of a letter from Allyson R. Bennett,

21   counsel for Defendants OpenAI, Inc.; OpenAI, L.P.; OpenAI GP, L.L.C.; OpenAI OpCo, L.L.C.; OpenAI

22   Startup Fund GP I, L.L.C.; OpenAI Startup Fund I, L.P.; and OpenAI Startup Fund Management, LLC to

23   me, Joseph R. Saveri, dated November 6, 2023.

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      Lead Case No. 4:22-cv-06823-JST               1
           DECLARATION OF JOSEPH R. SAVERI IN SUPPORT OF JOINT LETTER BRIEF REGARDING OPENAI
                             DEFENDANTS’ RESPONSES TO PLAINTIFFS’ INTERROGATORIES
            Case 4:22-cv-06823-JST Document 173-1 Filed 11/15/23 Page 3 of 3




 1          6.     Attached hereto as Exhibit 5 is a true and correct copy of a letter from me, Joseph R.

 2   Saveri, to Allyson R. Bennett, counsel for Defendants OpenAI, Inc.; OpenAI, L.P.; OpenAI GP, L.L.C.;

 3   OpenAI OpCo, L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI Startup Fund I, L.P.; and OpenAI

 4   Startup Fund Management, LLC, dated November 10, 2023.

 5

 6          I declare under penalty of perjury that the foregoing is true and correct. Executed this 15th day of

 7   November, 2023.

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                                                                /s/ Joseph R. Saver
 9                                                                Joseph R. Saveri
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      Lead Case No. 4:22-cv-06823-JST               2
           DECLARATION OF JOSEPH R. SAVERI IN SUPPORT OF JOINT LETTER BRIEF REGARDING OPENAI
                             DEFENDANTS’ RESPONSES TO PLAINTIFFS’ INTERROGATORIES
